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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                              )
                                                      )
             v.                                       )      Magistrate No. 21-1993
                                                      )
ERIC M. KORTZ                                         )

                           AFFIDAVIT FOR CRIMINAL COMPLAINT

       I, U.S. Postal Inspector Erik J. Bohin, being first duly sworn, hereby depose and state as

follows:

                                         INTRODUCTION

       1.         I am a U.S. Postal Inspector with the United States Postal Inspection Service

(USPIS) and have been since February of 2015. I am currently assigned to the Pittsburgh Office

and am trained and authorized to investigate offenses such as are alleged herein. I have received

training at the Career Development Unit (CDU) of the United States Postal Inspection Service in

the investigation of violent crimes.

       2.         Prior to my employment with USPIS, I culminated approximately 6 years of law

enforcement experience working positions in law enforcement to include a: Deputy Sheriff, School

Police Officer, and State Trooper.

       3.         As a federal agent, I am authorized to investigate violations of the laws of the

United States and am a law enforcement officer with the authority to execute warrants issued under

the authority of the United States.

       4.         The statements contained in this Affidavit are based primarily on information

gathered by me and law enforcement officers, as well as my personal knowledge, observations,

experience and training, review of documents and records, and discussions with other law

enforcement agents. On his oath, your affiant alleges the following in support of a criminal
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complaint charging ERIC KORTZ with two counts under Title 18, United States Code, Sections

1111 and 1114 and Title 18, United States Code, Sections 924(c)(1)(A)(i) and (iii), and seeking a

warrant for his arrest.

        5.      On October 7, 2021 United States Postal Inspectors and local law enforcement were

informed that a shooting had occurred in Collier Township, located in Allegheny County,

Pennsylvania. Investigators arrived on scene and observed the victim of the shooting, Louis

Vignone (“Vignone”). Vignone, who was a United States letter carrier, was in his marked United

States Postal Services (USPS) vehicle. He was pronounced dead at the scene as a result of multiple

gunshot wounds, including one to the head. At the time of the shooting, Vignone was wearing his

USPS uniform and working his shift as a letter carrier. Investigators located a firearm and seven

spent shell casings in a yard near the USPS vehicle.

        6.      Shortly after the shooting, KORTZ arrived at the Carnegie Borough Police

Department, where he stated that he shot someone and wanted to turn himself in. KORTZ

subsequently was transported to the Allegheny County Police Department Headquarters.

        7.      At the Allegheny County Police Headquarters, your Affiant and Allegheny County

Police Detective Patrick Kinavey interviewed KORTZ. Prior to the start of the interview, KORTZ

agreed to be interviewed and signed the USPIS agency-issued Miranda Warnings and Waiver

Form. The interview was audio and video recorded. During the interview, KORTZ informed

Investigators that he shot Vignone. KORTZ claimed that he shot Vignone because KORTZ

believed that Vignone and Vignone’s family had poisoned KORTZ and KORTZ’s family with

cyanide when Vignone and KORTZ were previously neighbors.

        8.      KORTZ informed Investigators that KORTZ was aware of where Vignone worked.

KORTZ stated that he located Vignone on his mail route, drove his vehicle toward Vignone’s
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USPS vehicle, and stopped in front of the vehicle to stop Vignone. KORTZ then stated that he

“went to put some bullets in him”, referring to shooting Vignone. KORTZ stated that he then

dropped the firearm at the scene, got into his van, and drove to the Carnegie Borough Police

Department.

       11.     WHEREFORE, your affiant avers that there is probable cause to believe that on or

about October 7, 2021, in the Western District of Pennsylvania, the defendant, ERIC KORTZ,

with malice aforethought, did kill LOUIS VIGNONE, a postal carrier employed by the United

States Postal Service while he was engaged in his official duties, in violation of Title 18, United

States Code, Sections 1111 and 1114, and that ERIC KORTZ knowingly did use and carry and

discharge a firearm during and in relation to a crime of violence, that being the murder of LOUIS

VIGNONE, contrary to the provisions of Title 18, United States Code, Sections 1111 and 1114,

and knowingly did possess said firearm in furtherance of said crimes of violence, in violation of

Title 18, United States Code, Sections 924(c)(1)(A)(i) and (iii), and that a warrant for his arrest

should be issued.

               The above information is true and correct to the best of my knowledge, information,

and belief.

                                                     s/ Erik Bohin
                                                     Erik Bohin
                                                     U.S. Postal Inspector, USPIS

Sworn and subscribed before me, by telephone
pursuant to Fed. R. Crim. P. 4.1(b)(2)(A),
This 7th day of October 2021.



_________________________________
HONORABLE CYNTHIA REED EDDY
Chief United States Magistrate Judge
